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 5                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF CALIFORNIA
 6
     UNITED STATES OF AMERICA,                               Case No.       16CR1057-WQH
 7
                  Plaintiff,                                 FINDINGS OF FACT AND ORDER RE
 8                                                           WIAVER OF DETENTION PENDING
                  v.                                         TRIAL AND SENTENCING
 9

10 MARTINIANO GARCIA-SEDANO (1),

11                Defendant.

12        In accordance with Section 3142(f) of the Bail Reform Act of

13 1984 (18       U.S.C. § 3141, et seq.), a detention hearing was held on

14 May 12, 2016, to determine whether defendant MARTINIANO GARCIA-SEDANO

15 (1),    should      be    held    in      custody     pending    trial    and,    if   convicted,

16 sentencing       on      the    above-captioned         matter.       Assistant    United States

17 Attorney Timothy F. Salel appeared on behalf of the United States,

18 and    attorney       Leila     W.    Morgan,     Esq.,     of   Federal    Defenders       of   San

19 Diego, Inc., appeared on behalf of the Defendant.

20        At   the       hearing        on   May    12,     2016,       Defendant    knowingly      and

21 voluntarily waived his right, on the record and through counsel, to

22 the setting of bail and a detention hearing.

23        Based     on      that    waiver,        the    Court     orders    that    Defendant      be

24 detained       pending         trial,     and    if    convicted,       sentencing     in     these

25 matters, without prejudice or waiver of Defendant’s right to later

26 apply for bail and conditions of release, and without prejudice or a

27 waiver of the right of the United States to seek detention in the

28 event of an application by Defendant for such relief.
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 1                                               ORDER

 2        IT IS HEREBY ORDERED that Defendant be detained pending trial

 3 and, if convicted, sentencing in these matters.

 4        IT IS FURTHER ORDERED that Defendant be committed to the custody

 5 of     the    Attorney       General     or    her    designated     representative               for

 6 confinement       in    a    corrections       facility     separate,       to    the        extent

 7 practicable, from persons awaiting or                  serving     sentences or              being

 8 held in       custody       pending    appeal.         Defendant     shall       be     afforded

 9 reasonable opportunity for private consultation with counsel. While

10 in custody, upon order of a court of the United States or                             upon        the

11 request of an attorney for the United States, the person in charge of

12 the      correctional         facility        shall    deliver     Defendant            to        the

13 United States Marshal for the purpose of an appearance in connection

14 with a court proceeding           or    any    other    appearance    stipulated             to    by

15 defense and government counsel.

16        This order is made without prejudice to modification by this

17 Court, and without prejudice to the Defendant’s exercise of his right

18 to bail and a detention hearing at a future date.

19        SO ORDERED.

20 Dated:       May 16, 2016
                                             HONORABLE BARBARA L. MAJOR
21                                           United States Magistrate Judge
     Prepared by:
22

23 s/Timothy F. Salel
   TIMOTHY F. SALEL
24 Assistant U.S. Attorney

25 CC by e-mail to Leila W. Morgan, Esq., and
                   Kasha K. Castillo, Esq.,
26                 Federal Defenders of San Diego, Inc.
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